      Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 1 of 25




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

MONIQUE O’NEAL,                   )
                                  )
                  Plaintiff,      )
                                  )
v.                                )    Case No. 2:17-CV-02172-JAR-KGS
                                  )
CENTENE MANAGEMENT                )
COMPANY, LLC D/B/A SUNFLOWER      )
HEALTH PLAN,                      )
                                  )
                  Defendant.      )

         DEFENDANT CENTENE MANAGEMENT COMPANY LLC’S
             MEMORANDUM IN SUPPORT OF ITS MOTION
                    FOR SUMMARY JUDGMENT



                                      ARMSTRONG TEASDALE LLP


                                      BY:     s/ Dione C. Greene
                                            Dione C. Greene              KS #23010
                                            2345 Grand Blvd., Suite 1500
                                            Kansas City, Missouri 64108
                                            816.221.3420
                                            816.221.0786 (facsimile)
                                            dgreene@armstrongteasdale.com

                                            ATTORNEYS FOR DEFENDANT
            Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 2 of 25




                                                TABLE OF CONTENTS

TABLE OF CONTENTS............................................................................................................. i

TABLE OF AUTHORITIES ...................................................................................................... ii

I.          NATURE OF THE MATTER ..................................................................................... 1

II.         STATEMENT OF UNCONTROVERTED MATERIAL FACTS ............................. 2

III.        QUESTIONS PRESENTED ..................................................................................... 14

IV.         ARGUMENT ............................................................................................................. 14

            A.        Summary Judgment Standard ........................................................................ 14

            B.        Disability Claim. ............................................................................................ 14

                      1.         Plaintiff cannot make a prima facie case of disability
                                 discrimination because she cannot show she is disabled. .................. 14

                      2.         Even if plaintiff could establish a prima facie case for
                                 disability discrimination, she cannot show that Centene’s
                                 reasons for terminating her are pretextual. ........................................ 17

            C.        FMLA Interference Claim. ............................................................................ 18

                      1.         Plaintiff’s FMLA interference claim fails because she
                                 cannot show that Centene’s action to terminate her
                                 interfered with her right to take FMLA leave. ................................... 19

                      2.         Plaintiff’s FMLA claim fails because she would have been
                                 terminated regardless of her taking FMLA leave. ............................. 19

            D.        Plaintiff’s ADA and FMLA Retaliation Claims fail...................................... 20

V.          CONCLUSION.......................................................................................................... 21




                                                                   i
              Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 3 of 25




                                                   TABLE OF AUTHORITIES

Cases

Adair v. City of Muskogee, 823 F.3d 1297, 1306 (10th Cir. 2016)................................................ 17

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986) ......................................................... 14

Carter v. Pathfinder Energy Services, Inc., 662 F.3d 1134, 1141 (10th Cir. 2011) ..................... 17

Felkins v. City of Lakewood, 774 F.3d 647, 650 (10th Cir. 2014) ........................................... 15, 16

Grimes v. Fox & Hound Rest. Group, 984 F. Supp.2d 1125, 1138 (D. Kan. 2013) ......... 18, 19, 20

Khalik v. United Air Lines, 671 F.3d 1188, 1193 (10th Cir. 2012) ............................................... 21

Peterson v. Garmin Int’l, 833 F. Supp.2d 1299, 1311 (D. Kan. 2011)......................................... 19

Poulsen v. Humana Ins. Co., No. 14-2477-JAR, 2016 WL 1030038, at *9 (D. Kan. Mar. 10,
2016) ............................................................................................................................................. 16

Reinhardt v. Albuquerque Public Schs. Bd. of Educ., 595 F.3d 1126, 1131 (10th Cir. 2010) ...... 21

Russell v. Phillips 66, 687 Fed. Appx. 748, 753 (10th Cir. 2017) ........................................... 15, 16

Sabourin v. Univ. of Utah, 676 F.3d 950, 958 (10th Cir. 2012) .............................................. 18, 20

Smothers v. Solvay Chems., Inc., 740 F.3d 530, 544 (10th Cir. 2014) .......................................... 15

Timmerman v. U.S. Bank, N.A., 483 F.3d 1106, 1113 (10th Cir.2007) ......................................... 21

Vitkus v. Beatrice Co., 11 F.3d 1535, 1538-39 (10th Cir. 1993) .................................................. 14

Williams v. FedEx Corp., 849 F.3d 889, 898 (10th Cir. 2017) ...................................................... 17

Statutes and Rules

29 C.F.R. § 1630.2(j)(1)(ii)..................................................................................................... 16, 17

FED. R. CIV. P. 56 .......................................................................................................................... 14




                                                                         ii
          Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 4 of 25




                                I.     NATURE OF THE MATTER

        This case arises from the termination of plaintiff Monique O’Neal’s employment due to

chronic dishonesty and unprofessionalism. In June 2013, Centene hired plaintiff to primarily

answer phone calls from medical providers. Within 90 days of her employment, plaintiff’s co-

workers complained about “how they feel it’s unfair and how the environment is hostile because

every time they say something to [plaintiff] . . . it’s confrontational . . . and I am tired of working

really hard so [plaintiff] can slack off and talk all day.”

        In June 2015, plaintiff left work early, falsely representing that her aunt was in the

hospital. Plaintiff was disciplined. Nevertheless, she continued to make misrepresentations

throughout her employment.           Her co-workers continued to complain that plaintiff was

argumentative, unprofessional, and that plaintiff would hide in the hallway and talk on her cell

phone excessively during work hours.

        In May 2016, plaintiff requested and was granted bereavement leave, representing that

her “aunt” died. Instead of attending the funeral, plaintiff went to Las Vegas. While plaintiff

was in Las Vegas, plaintiff’s manager, Terie Beverlin, listened to plaintiff’s recorded work

phone calls to resolve an issue involving plaintiff and a medical provider. When listening to the

calls, Ms. Beverlin heard plaintiff on personal calls “speaking about sexual encounters,

masturbation, cuss words, [and] talking about drugs” instead of servicing providers. Plaintiff

was given a final warning.           After the final warning, plaintiff continued to engage in

unprofessional behavior and was terminated.

        No reasonable jury could render a verdict for plaintiff on her disability discrimination,

FMLA interference, and retaliation claims.         She cannot show that she was terminated for

unlawful reasons. Summary judgment should be granted in favor of Centene as a matter of law

on all of plaintiff’s claims.



                                                   1
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 5 of 25




             II.      STATEMENT OF UNCONTROVERTED MATERIAL FACTS

        1.         Centene provides healthcare related services to patients and medical providers.

See, e.g, Ex. 1, Pl. Dep., 15:23-16:13; Ex. 2, Beverlin Dep., 9:24-11:7.

        2.         In June 2013, Centene hired plaintiff as a referral specialist. See Pretrial Order,

doc. 37, p. 2.

        3.         The job duties of referral specialists include communicating by telephone with

medical providers (e.g., doctors/nurses) who are requesting authorization to provide specific and

often time sensitive medical services to a patient. The medical provider gives the referral

specialist information such as the patient name, diagnosis and the anticipated medical procedure

for which the authorization is sought. The referral specialist then “builds the authorization” by

inputting the information into a data management software system called “TruCare,” and then

sends the authorization to a nurse/doctor at Centene for approval. See Ex. 1, Pl. Dep., 16:23-

21:18; Ex. 2, Beverlin Dep., 14:9-17.

        4.         Plaintiff’s work hours were from 8:00 a.m. to 5:00 p.m. She was entitled to an

hour lunch break and two 15 minute breaks each day. When she was not on a break, she was

expected to work as efficiently as possible. See Ex. 1, Pl. Dep., 44:6-19, 46:1-47:6, 59:23-60:1.

                      Complaints about Plaintiff’s Conduct Prior to FMLA Leave

        5.         Prior to plaintiff taking leave under the Family Medical Leave Act, complaints

were made that she was “on her personal cell excessively throughout the day.” It was reported

that there “are times she leaves her desk with[out] informing the IM group that she is on lunch or

break.” See Ex. 3-A, Monique Performance Discussions (Def. 0468), attached to Beverlin

Declaration; Ex. 4, Thomas Dec., ¶¶ 5-8.




                                                    2
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 6 of 25




       6.      Instant message (IM), also called “team chat,” was used by referral specialists to

communicate with others if they were available to take calls. See Ex. 9, Meeting Minutes (Def.

0106-0113); Ex. 1, Pl. Dep., 30:3-21.

       7.      Plaintiff’s co-workers complained about “how they feel it’s unfair and how the

environment is hostile because every time they say something to [plaintiff] . . . it’s

confrontational;” that plaintiff “is not a team player and . . . she has made it an extremely hostile

place to work;” and “I am tired of working really hard so [plaintiff] can slack off and talk all day.

I want to transfer to a different department. I don’t feel comfortable working around [plaintiff].”

See Ex. 3-B, attached to Beverlin Dec. (Def. 0222-0223); Ex. 4, Thomas Dec., ¶¶ 5-8.

                                            FMLA Use

       8.      Centene’s FMLA application, approval, denial, and usage process was handled by

a third-party administrator, Liberty Mutual.         Centene managers and supervisors had no

involvement in the FMLA process other than receiving notice when an employee took leave. See

Ex. 5, Mak Dep., 78:4-79:19.

       9.      In July 2014, plaintiff began taking intermittent FMLA leave for “generalized

anxiety disorder,” “gastroesophageal reflux disease” (GERD) and her son’s asthma. See Ex. 6,

Pl. FMLA Forms (O’Neal 000030-32); Ex. 1, Pl. Dep., 138:10-13; 218:7-8.

       10.     Plaintiff does not recall ever communicating to any manager or supervisor that

she had anxiety disorder. See Ex. 1, Pl. Dep., 212:12-16.

       11.     Terie Beverlin (manager) did not know what GERD was or how it affected

plaintiff. Ms. Beverlin did not know or perceive that plaintiff had any disability. See Ex. 3,

Beverlin Dec., ¶ 8.




                                                 3
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 7 of 25




       12.     According to plaintiff, GERD “causes acid reflux, it causes digestive issues

within your stomach. It causes you an issue with eating and keeping food down.” But she was

able to perform her job duties despite GERD, “constantly walk,” and she never asked for an

accommodation. See Ex. 1, Pl. Dep., 192:5-16; 214:2, 217:22-218:1.

       13.     Whenever plaintiff experienced general anxiety or GERD at work, she left for the

entire day. According to plaintiff: “Anytime a disability restricted me from doing anything

within my job, I would go home for the day.” See Ex. 1, Pl. Dep., 214:18-20; 217:14-17.

                                Unprofessionalism and Dishonesty

       14.     In July 2014, a nurse complained about the “behavior of employee Monique

O’Neal and the way she conducts the daily activities,” that she “doesn’t seem interested in being

a team player” and “becomes argumentative during any discussion of the process.” In August

2014, plaintiff was counsel for “argumentative behavior.” See Beverlin Dec., Ex. 3-C, (Def.

0466; 0467).

       15.     On June 8, 2015, plaintiff requested to leave work early, representing that her

“aunt” was in the hospital. Plaintiff was allowed to leave work early to visit her “aunt.” See Ex.

7, Harris Dep., 55:21-56:10; Ex. 3-D Beverlin Dec., (first aunt email (Def. 0284-0285)).

       16.     The person allegedly hospitalized was not plaintiff’s real aunt.       The person

hospitalized was really the “aunt” of a “gentleman who got killed” who fathered three children

with plaintiff’s sister. See Ex. 1, Pl. Dep., 254:9-21.

       17.     Plaintiff’s sister, Gregshima O’Neal, told supervisor Ms. Bobbie Harris, that it

was her (Gregshima’s) mother-in-law that is in the hospital and “not their aunt.” Ms. Harris

believed that plaintiff was dishonest and reported her conduct to Scott Mak (human resources




                                                  4
           Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 8 of 25




            1
manager).       See Ex. 7, Harris Dep., 55:21-56:10; Ex. 3-D, First Aunt Email (Def. 0284-0285),

attached to Beverlin Declaration.

         18.      On or about June 10, 2015, Mr. Mak met with plaintiff to discuss her

unprofessionalism and because she “made some statements that just aren’t true” regarding the

“aunt.” He told plaintiff to be honest, professional and at her desk to focus on her job. He also

informed plaintiff that her leaving work early on June 8 would count against her attendance. See

Ex. 20, Mak Dec., ¶ 8; Ex. 20.1, Mak Notes (Def. 0117).

         19.      On June 11, Mr. Mak communicated with management about giving plaintiff

opportunities “to correct her demeanor” and to “permanently change her behavior” going

forward. On June 12, 2015, plaintiff was issued “Written Disciplinary Action.” See Exs. 3-E

and 3-F, attached to Beverlin Dec., Written Discipl. Action, (Def. 0168, 0215).

         20.      In September 2015, Terie Beverlin became plaintiff’s manager. Upon becoming

manager, Pattie Counter (plaintiff’s prior manager) and Ms. Harris informed Ms. Beverlin about

plaintiff’s past dishonesty, past unprofessionalism and history of excessive cell phone use. See

Ex. 2, Beverlin Dep., 20:15-22, 60:19-22, 97:1-3; Ex. 3, Beverlin Dec., ¶ 5.

         21.      On January 4, 2016, Ms. Beverlin was informed that plaintiff called in that

morning, representing that she was taking FMLA for her son, and plaintiff stated she would

come into work later that day. Plaintiff never came to work. Ms. Beverlin believed that plaintiff

was dishonest by representing she would come into work and reported her conduct to HR. See

Ex. 3, Beverlin Dec., ¶ 10; Ex. 3-G, Beverlin Email (Def. 0694), attached to Beverlin Dec.




1 Apparently, this first “aunt” issue was not the first time plaintiff was dishonest with Centene. Plaintiff represented
in her employment application with Centene that she voluntarily left her prior employer, Truman Medical Center,
for “personal family issues.” That representation was false. Plaintiff was actually terminated by Truman Medical
Center. See Ex. 1, Pl. Dep., 258:20-260:15.




                                                           5
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 9 of 25




                               Department Expectations Meeting

       22.     On March 22, 2016, Terie Beverlin and the human resources department held a

meeting with the referral specialist group, which included plaintiff. See Ex. 1, Pl. Dep., 128:8-

16.

       23.     The referral specialists were told: “Effective immediately there will be no ear

buds/cell phone allowed.” See Ex. 9, Meeting Minutes (Def. 0107).

       24.     Referral specialists, including plaintiff, were also instructed at this meeting and

subsequent meetings to (1) take lunches (one hour) and breaks (15 minutes) on time and return

on time, (2) accurately document notes of conversations with providers in Centene’s medical

data management system, TruCare, (3) and to enter time in the team chat when you leave and

return to your desk because you “can’t just get up and leave your desk.” See Ex. 9, Meeting

Minutes (Def. 0106-0113); Ex. 1, Pl. Dep., 80:13-16, 83:4-11, 84:20-85:16, 87:9-21.

       25.     On March 28, 2016, Ms. Harris learned from productivity reports that plaintiff

was not documenting any notes of conversations with medical providers as she was instructed in

the March 22 meeting. Ms. Harris sent plaintiff an email stating there were “no notes entered by

you” on the authorizations plaintiff built. While plaintiff acknowledged that her “productivity is

low,” she represented that she did in fact enter notes in TruCare. See Ex. 3-H, Harris Emails

(Def. 0698, 707-708), attached to Beverlin Declaration.

       26.     Ms. Harris randomly selected three authorizations that plaintiff built. She then

emailed plaintiff: “I randomly picked 3 members from one of our spreadsheets and there are no

notes/documentation entered by you for any of the 3 members below on any of their

authorizations.” See Ex. 3-H, Harris Emails (Def. 0698, 707-708).




                                                6
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 10 of 25




         27.     Ms. Harris believed that plaintiff was dishonest about documenting notes and

reported her conduct to Ms. Beverlin. See Ex. 7, Harris Dep., 54:12-55:19.

         28.     On or about April 22, 2016, plaintiff’s co-workers, including Nicole Richardson,

complained to Bobbie Harris that plaintiff was argumentative, unprofessional and offensive. Ms.

Harris reported Ms. Richardson’s complaint to Ms. Beverlin. Ms. Beverlin believed that plaintiff

was unprofessional and disrupting the workplace. See Ex. 8, Harris Dec., ¶ 4; Ex. 10, Nicole

Richardson Dec., ¶ 9; Cf. Ex. 11, Hicks Dec., ¶ 13; Ex. 12 Johnson Dec., ¶ 15.

                           Personal Phone Calls and Second “Aunt” Issue

         29.     On May 18, 2016, plaintiff informed Ms. Harris that “my Aunt passed away

yesterday from a short battle of cancer.” Plaintiff requested and was granted paid bereavement

leave. See Ex. 3-I, Email on Aunt (Dev. 0550) attached to Beverlin Dec.; Ex. 1, Pl. Dep., 93:10-

24.

         30.     Plaintiff did not attend the funeral. Instead, she went to Las Vegas. Ex. 1, Pl.

Dep., 94:9-13.

         31.     On May 24, while plaintiff was in Las Vegas, Ms. Beverlin attempted to resolve

an issue with a medical provider regarding an authorization that plaintiff previously worked on.

Ms. Beverlin listened randomly to plaintiff’s phone calls recorded on the work phone to locate

the call and resolve the issue. See Ex. 3-J, Beverlin Notes (Def. 0645-46); Beverlin Dep., 75:7-

77:10.

         32.     When listening to the calls, Ms. Beverlin “started coming across all the personal

phone calls . . . the first three or four calls that [Ms. Beverlin] clicked on to listen to were

personal phone calls” by plaintiff. See Ex. 2, Beverlin Dep., 75:7-76:6. Ex3-J, Beverlin Notes

(Def. 0645-46).




                                                 7
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 11 of 25




       33.     In one phone call, plaintiff stated that the person for whom she took bereavement

leave was not her aunt. See Ex. 1, Pl. Dep., 112:23-113:2; Ex. 2, Beverlin Dep., 23:15-24:6.

       34.     On some of the phone calls, Ms. Beverlin heard plaintiff “speaking about sexual

encounters, masturbation, cuss words, [and] talking about drugs” in general. See Ex. 2, Beverlin

Dep., 139:9-10.

       35.     Some health care providers wait to provide medical services to a patient until the

authorization process is complete. See Ex. 1, Pl. Dep., 21:9-22.

       36.     Plaintiff placed one medical provider seeking a medical authorization on hold for

an extended period of time while plaintiff took a personal phone call on the company phone. See

Ex. 3, Beverlin Dec., ¶ 21.

       37.     Ms. Beverlin believed that plaintiff was grossly unprofessional because of the

“conversations [plaintiff] was having during these personal phone calls on the business phone,

the nature of them, speaking about masturbation, alcohol consumption that could be overheard

by her coworkers potentially, putting providers on hold, just unprofessional in general, putting a

provider on hold to have a personal phone call.” See Ex. 2, Beverlin Dep., 96:14-20.

       38.     Ms. Beverlin also believed that plaintiff was dishonest again by misrepresenting

that she took funeral leave for an aunt. Ms. Beverlin believed that plaintiff now lied twice about

having an ill or deceased “aunt” in order to miss work. See Ex. 3, Beverlin Dec., ¶ 23.

       39.     Ms. Beverlin believed that plaintiff’s conduct warranted immediate termination.

However, she accepted Human Resources’ advice to instead put plaintiff on a “Last Chance

Agreement.” Ex. 15, Last Chance Agreement; Ex. 3, Beverlin Dec., ¶ 24.




                                                8
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 12 of 25




                                        Last Chance Meeting

       40.     On June 1, after plaintiff returned from her trip to Las Vegas, she had a meeting

with Ms. Beverlin, Jacqueline Rolf (Human Resources Specialist), and Lori Howard (Director of

Utilization). According to plaintiff, she was “being characterized as a liar.” See Ex. 1, Pl. Dep.,

98:5-25, 104:18-21.

       41.     Plaintiff was told “you were lying;” management was “very aggressive” and

played the phone calls. See Ex. 1, Pl. Dep., 105:22-25, 97:14-15.

       42.     Plaintiff now admits that it was reasonable for management to believe she was

lying. See Ex. 1, Pl. Dep., 113:3-17.

       43.     Plaintiff was also accused of discussing “a drug transaction” on the company

phone. Plaintiff does not dispute discussing marijuana on the company phone. See Ex. 1, Pl.

Dep., 116:21-24, 119:16-20.

       44.     According to plaintiff: “My integrity was questioned, my character was

questioned” at the meeting. See Ex. 1, Pl. Dep., 160:12-14.

       45.     Plaintiff told management, “I do understand the circumstances that brought this

about;” she understood that if she signed the agreement, it was her last chance to remain

employed by Centene. She has now further acknowledged that it was the “bereavement that I

had taken, and personal phone calls” that led to the final warning. See Ex. 1, Pl. Dep., 159:16-

22, 157:1-5; 91:8-14, 90:19-24.

       46.     After plaintiff was placed on the Last Chance Agreement, she allegedly made an

anonymous complaint about co-worker Geraldine Thomas and Ms. Harris.                   Scott Mak

investigated the complaint, found that it contained multiple inaccuracies, and concluded it was

without merit. See Ex. 1, Pl. Dep., 198:1-11; see also Ex. 5, Mak Dep. 145:2-149:5.




                                                9
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 13 of 25




                                      Post-Last Chance Issues

       47.     About a week after plaintiff signed her Last Chance Agreement, Ms. Beverlin

received reports that plaintiff “was consistently being gone from her area, her supervisor didn’t

know where she was, [and] she wasn’t following the process” put in place for her. See Ex. 2,

Beverlin Dep., 26:11-27:10.

       48.     Ms. Beverlin again spoke with plaintiff about plaintiff “not being at her desk.”

See Ex. 2, Beverlin Dep., 40:15-21.

       49.     Plaintiff does not dispute exceeding her break time. See Ex. 1, Pl. Dep., 243:4-8.

       50.     Plaintiff also admits that she “didn’t practice” letting others know when she

returned to her desk, and that “sometimes I didn’t let them know when I was leaving as well.”

See Ex. 1, Pl. Dep., 249:15-23; see also Ex. 2, Beverlin Dep., 107:10-21.

                              More Dishonesty and Cell Phone Issues

       51.     Plaintiff’s former co-worker, Veronica Johnson, complained to management

about plaintiff. Ms. Johnson observed that plaintiff “talked on her cell phone daily during work

hours when she was at work; she frequently went into the hallway and talked on her cell phone

during work hours,” and on occasion, “Monique O’Neal would hide in the hallway during work

hours to talk on her cell phone.” Ms. Johnson also “observed Monique O’Neal working on her

tax returns during work hours.” See Ex. 12, Johnson Dec., ¶¶8, 10, 11, 15.

       52.     Plaintiff’s former co-worker, Clint Hicks, observed that “Monique O’Neal wore a

hat and blanket at times covering her head with ear buds in her ear while having a personal

conversation on her cell phone during work hours.” And when “I asked her questions during

work hours, I would see her on her cell phone.” Mr. Hicks complained about plaintiff to

management. See Ex. 11, Hicks Dec., ¶ 8-13.




                                                10
          Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 14 of 25




       53.       Plaintiff’s co-workers, Nicole Richardson, Mary Franco, and Merrie Carmack

also observed plaintiff engage in various forms of misconduct. See generally Exs. 10, 13, 14.

       54.       On or about June 14, 2016, Ms. Harris received complaints from plaintiff’s co-

workers that plaintiff was using her cell phone, disappearing from her desk and not doing her

job. Ms. Harris emailed Ms. Beverlin that “Monique has been taking frequent breaks throughout

the day” and was “observed using her cell phone at her desk texting today.” See Ex. 3-K, Harris

Email (Def. 0542), attached to Beverlin Dec.; Ex. 7, Harris Dep., 82:13-83:1, 29:8-16, 49:6-18.

       55.       On June 22, Ms. Beverlin spoke with plaintiff about “her being away from her

desk and being seen on her cell phone and disappearing,” and that “this is getting to be an issue

again.” Plaintiff responded, “I get it, I’ll do better.” See Ex. 2, Beverlin Dep., 79:1-15.

       56.       On June 23, plaintiff sent Ms. Beverlin an email stating she had a doctor’s

appointment on July 6 for her “FML paper work, at that time I will see if he will provide me with

a Dr. Excuse [sic] for my excessive bathroom usage . . . I just want to cover myself.” Ms.

Beverlin did not understand plaintiff to be disclosing any major issue; rather, she understood

plaintiff’s email as “her trying to cover herself.” See Ex. 16, Pl. Email (Def. 0747); Ex. 2, Bev.

Dep., 79:1-21.

       57.       On June 23, Ms. Harris learned that plaintiff previously represented that she

missed work for FMLA reasons. However, plaintiff did not report her FMLA usage to the third-

party FMLA administrator, as was required. Ms. Harris believed that plaintiff was dishonest by

representing to Centene she was on FMLA leave for time when she had not informed the FMLA

administrator. Ms. Harris reported her conduct to Ms. Beverlin. Ex. 7, Harris Dep., 52:9-16; Ex.

3-L, Harris Email (Def. 0647) attached to Ex. 3, Beverlin Dec.; Ex. 2, Beverlin Dep., 104:11-

105:12.




                                                 11
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 15 of 25




       58.     On June 30, Ms. Beverlin received further complaints that plaintiff was “away

from her desk” outside of her allotted break time, and that this “happens during the workday

almost everyday.” Ms. Beverlin believed that plaintiff was disappearing from her desk to talk on

her cell phone. See Ex. 3, Beverlin Dec., ¶ 30; Ex. 3-M, Email (Def. 0543).

       59.     Plaintiff adamantly testified that she never used her personal cell phone during

work hours. See Ex. 1, Pl. Dep., 164:15-17.

       60.     Plaintiff’s cell phone records, however, show that on June 30, between 8:00 a.m.

and 5:00 p.m., plaintiff talked on her cell phone 20 times during work hours. See Ex. 17, Pl. Cell

Phone Records (Def. 1366-67).

       61.     On July 1, Ms. Thomas reported to management that she “observed Monique

O’Neal sitting at her desk with one earbud in her ear along with a hat on her head.” Ms. Thomas

further reported that plaintiff took excessive breaks and was using her cell phone. See Ex. 3-N,

G. Thomas Email (Def 0584, 0656, 0657).

       62.     On July 1, at about 4:30 p.m., it was reported to Ms. Beverlin that plaintiff

represented that she was going to the restroom, but was instead seen “going up [the] stairwell to

the 4th floor.” Ms. Beverlin noted that plaintiff “has been caught on the fourth floor stairwell

before talking on her cell phone when she should be working . . . she goes there to hide.” See

Ex. 3, Beverlin Dec., ¶ 32.

       63.     Though plaintiff denies ever using her cell phone records at work, her cell phone

records show that on July 1, between 8:00 and 5:00, plaintiff talked on her cell phone 30 times

during work hours. Ms. Beverlin had “multiple discussions about [plaintiff] being on her cell

phone a lot.” See Ex. 17, Pl. Cell Phone Records (1367-69); Ex. 2, Beverlin Dep., 95:12-14.




                                               12
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 16 of 25




       64.       In addition to the cell phone use, Plaintiff admits: “There is no telling what I was

doing if I wasn’t at my desk.” See Ex. 1, Pl. Dep., 244:24-25.

                                       Decision to Terminate

       65.       On July 1, Ms. Beverlin made the decision to terminate plaintiff. Ms. Beverlin

sent an email to human resources with an attached excel spreadsheet documenting plaintiff’s

conduct. She also sent a “Termination Review Form” to human resources seeking approval to

terminate plaintiff.    Based on plaintiff’s history, Ms. Beverlin believed that plaintiff was

excessively using work time to talk on her cell phone and was engaging in other unprofessional

conduct. See Ex. 3, Beverlin Dec., ¶ 33; Ex. 3-O, Email and Excel Chart; Ex. 3-P, Termination

Form; Ex. 2, Beverlin Dep., 91:19-92:24, 138:16-141:21.

       66.       On July 5, 2016, Ms. Beverlin hoped to meet with plaintiff in the morning to

terminate her.     However, before Ms. Beverlin arrived at work, plaintiff left work early,

representing that she was leaving for FMLA reasons. See Ex. 3, Beverlin Dec., ¶ 34. Ex. 1, Pl.

Dep., 169:22-24.

       67.       Plaintiff alleged to the Kansas Commission on Human Rights that she took

FMLA leave on July 5 “to take my son to the doctor” for asthma. When asked to identify the

“doctor” in interrogatories however, plaintiff admitted that she did not take her son to the doctor

on July 5. Compare Ex. 18, Pl. KHRC Charge (O’Neal 000136-137) with Ex. 19, Pl. Int.

Responses to No. 9.

       68.       Plaintiff has now testified that: “I don’t remember that particular date or

circumstances” for taking FMLA leave, nor could she remember what information she received

to warrant her taking FMLA leave on July 5. See Ex. 1, Pl. Dep., 169:16-170:5.




                                                  13
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 17 of 25




        69.      On July 6, Ms. Beverlin terminated plaintiff because she had a history of

 dishonesty and unprofessionalism and Ms. Beverlin believed that plaintiff continued to be

 dishonest and unprofessional. See Ex. 3, Beverlin Dec., ¶ 36; Ex. 2, Beverlin Dep., 19:23-21:2;

 90:17-19. Ms. Beverlin affirmatively denies terminating plaintiff due to FMLA use. See Ex. 3,

 Beverlin Dec., ¶ 36.

                               III.    QUESTIONS PRESENTED

        1.       Can plaintiff make a prima facie case of unlawful discrimination, retaliation or

 interference?

        2.       If plaintiff can establish a prima facie case on her claims, can she show that

 Centene’s reasons terminating her were pretextual or otherwise unlawful?

                                       IV.     ARGUMENT

A.      Summary Judgment Standard

        Summary judgment is appropriate if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show no genuine issue

 as to any material fact and that the moving party is entitled to a judgment as a matter of law. See

 FED. R. CIV. P. 56; Vitkus v. Beatrice Co., 11 F.3d 1535, 1538-39 (10th Cir. 1993).

B.      Disability Claim.

        In the Pretrial Order, plaintiff asserts that she “was discriminated against based on her

 disability or perceived disability” in violation of the American with Disabilities Act. See Pretrial

 Order, doc. 37, p. 8.

        1.       Plaintiff cannot make a prima facie case of disability discrimination because
                 she cannot show she is disabled.

        To establish a prima facie case of discrimination under the ADA (or ADAAA), plaintiff

 must present evidence that (1) she is disabled within the meaning of the ADA; (2) she is




                                                 14
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 18 of 25




qualified to perform the essential functions of her job with or without accommodations; and (3)

she suffered an adverse employment action under circumstances which give rise to an inference

of disability discrimination. See Smothers v. Solvay Chems., Inc., 740 F.3d 530, 544 (10th Cir.

2014). To be disabled, a plaintiff must show either “(A) a physical or mental impairment that

substantially limits one or more of the major life activities of such individual; (B) a record of

such an impairment; or (C) being regarded as having such an impairment.” See id. (quoting 42

U.S.C. § 12102(1)).

       To succeed on a claim under paragraph (A), the plaintiff “must (1) have a recognized

impairment, (2) identify one or more appropriate major life activities, and (3) show the

impairment substantially limits one or more of those activities.” Felkins v. City of Lakewood,

774 F.3d 647, 650 (10th Cir. 2014).      To show the impairment substantially limits a major life

activity under subparagraph (3), the plaintiff must show “both that [her condition] caused the

limitation and that the limitation was significant.” Russell v. Phillips 66, 687 Fed. Appx. 748,

753 (10th Cir. 2017). Further, plaintiff must show that she is substantially limited in her ability to

perform the major life activity “as compared to most people in the general population.” See

Poulsen v. Humana Ins. Co., No. 14-2477-JAR, 2016 WL 1030038, at *9 (D. Kan. Mar. 10,

2016); 29 C.F.R. § 1630.2(j)(1)(ii).

       In Felkins, the plaintiff suffered from “avascular necrosis,” a bone disease that results in

the “death of bone tissue” due to the lack of blood supply to the bone. 774 F.3d. at 648. The

plaintiff contended that she “could not walk normally and her major bodily functions of normal

cell growth and blood circulation were also substantially impaired.” See id. The plaintiff further

contended that “her condition also substantially affected her lifting, walking, and standing.” See

id.   Affirming summary judgment on plaintiff’s ADA claim, the Tenth Circuit found that




                                                 15
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 19 of 25




plaintiff presented no evidence from a physician that detailed “the degree to which it affects her

major life activities.” See id. Summary judgment was proper because the plaintiff failed to

present medical evidence that avascular necrosis caused her claimed limitations. See id.

        In this case, as a threshold matter, plaintiff cannot make a prima facie case of disability

discrimination.    First, neither GERD nor “generalized anxiety disorder” are recognized

impairments in the Tenth Circuit.        Second, even assuming that plaintiff has recognized

impairments, there is no evidence, let alone admissible medical evidence, that her GERD or

generalized anxiety disorder either (a) “causes” plaintiff any limitation, or (b) that her limitations

are significant. While plaintiff contends that her conditions “affect her ability to walk, sleep and

breathe (see Pretrial Order, p. 3), she has not actually proffered any admissible medical evidence

that her limitations were significant or caused by her alleged impairments. See Russell v.

Phillips 66, 687 Fed. Appx. 748, 753 (10th Cir. 2017) (plaintiff must show “both that [her

condition] caused the limitation and that the limitation was significant”); Felkins, 774 F.3d at

650 (“None of the medical evidence . . . details the degree to which it affects her major life

activities”).

        Moreover, there is no evidence that plaintiff was substantially limited in any major life

activity “as compared to most people in the general population.” See Poulsen v. Humana Ins.

Co., No. 14-2477-JAR, 2016 WL 1030038, at *9 (D. Kan. Mar. 10, 2016); 29 C.F.R. §

1630.2(j)(1)(ii). Plaintiff testified that she could “constantly walk” at times during work, and

that she could perform her job without any accommodation. See SOF, ¶12.

        Plaintiff also cannot also show that Centene “regarded her” as disabled. Under the

ADAAA, for a plaintiff to show that the employer regarded her as having an impairment, the

plaintiff must show that (1) she has an actual or perceived impairment, (2) that impairment is




                                                 16
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 20 of 25




neither transitory nor minor, and (3) the employer was aware of and therefore perceived the

impairment at the time of the alleged discriminatory action. Adair v. City of Muskogee, 823 F.3d

1297, 1306 (10th Cir. 2016). In this case, plaintiff does not recall informing anyone at Centene

that she had “generalized anxiety disorder.” See SOF, ¶ 10. Neither Ms. Beverlin (or any

supervisor or manager) knew or perceived that plaintiff had a disability, knew what GERD was,

or had any preconceived ideas about its nature, duration or severity, or even how it impacted

plaintiff. See Williams v. FedEx Corp., 849 F.3d 889, 898 (10th Cir. 2017) (“ADA liability

cannot be based on actions taken when FedEx was unaware of Mr. William’s disability”).

Accordingly, plaintiff’s disability claim fails.

       2.      Even if plaintiff could establish a prima facie case for disability
               discrimination, she cannot show that Centene’s reasons for terminating her
               are pretextual.

       Even if the plaintiff is able to establish a prima facie case, the inquiry does not end then

but the burden shifts to the defendant “to articulate some legitimate, nondiscriminatory reason”

for its actions. Carter v. Pathfinder Energy Services, Inc., 662 F.3d 1134, 1141 (10th Cir. 2011).

Centene’s burden is “exceedingly light.” See Williams v. FedEx Corp, 849 F.3d 889, 900 (10th

Cir. 2017). In this case, Centene has clearly met this burden not merely by “articulating” that it

terminated plaintiff because it believed she was dishonest and unprofessional, but by providing

overwhelming evidence of the same.

       Plaintiff then bears the ultimate burden of showing that the defendant’s proffered reason

is in fact a pretext designed to mask discrimination. Id. A plaintiff can establish pretext by

showing the defendant’s proffered non-discriminatory explanations for its actions are so

incoherent, weak, inconsistent, or contradictory that a rational factfinder could conclude they are

unworthy of belief. See id.




                                                   17
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 21 of 25




        In this case, plaintiff cannot establish that Centene’s reasons for terminating her are

 pretextual.   Plaintiff had a long track record with multiple complaints made about her

 unprofessionalism and which questioned her honesty. See generally SOF, ¶¶ 14-69. Plaintiff

 admits that she made contradictory statements twice about an ill/deceased “aunt” to miss work,

 and she was caught excessively using work time to attend to personal needs such as discussing

 masturbation, drugs, and alcohol use. See SOF, ¶ 16, 37-43. Plaintiff admits that it was

 reasonable for management to believe she was dishonest. See SOF, ¶ 42. Ms. Beverlin believed

 that she was also dishonest about documenting notes in TruCare and that she disappeared from

 her desk excessively to talk on her cell phone during work hours. See SOF, ¶¶ 27, 62. Plaintiff

 even cavalierly admits: “There is no telling what I was doing if I wasn’t at my desk.” See SOF, ¶

 64. Because plaintiff cannot establish that Centene’s reasons for terminating her are pretextual,

 her claim fails as a matter of law.

C.      FMLA Interference Claim.

        Plaintiff claims that Centene “unlawfully interfered with her rights under the FMLA.”

 Pretrial Order, doc. 37, p. 9. To prevail on an FMLA interference claim, plaintiff must show that

 she was entitled to FMLA leave and that some action by the employer, such as termination,

 interfered with her right to take that leave. See Grimes v. Fox & Hound Rest. Group, 984 F.

 Supp.2d 1125, 1138 (D. Kan. 2013). To establish an FMLA interference claim, plaintiff bears

 the burden of demonstrating: (1) that she was entitled to FMLA leave, (2) that some adverse

 action was taken by the defendant that interfered with her right to take FMLA leave, and (3) the

 defendant’s action was related to the exercise or attempted exercise of plaintiff’s FMLA rights.

 See id. “Even if the employee shows these elements, the employer will still prevail if it shows

 that the employee would have been dismissed regardless of her request for, or taking of, FMLA

 leave.” Sabourin v. Univ. of Utah, 676 F.3d 950, 958 (10th Cir. 2012).



                                                18
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 22 of 25




       1.      Plaintiff’s FMLA interference claim fails because she cannot show that
               Centene’s action to terminate her interfered with her right to take FMLA
               leave.

       It is undisputed that Centene’s FMLA approval process was handled by a third-party

administrator. Centene neither approved/denied plaintiff taking FMLA leave. See SOF, ¶ 8.

Plaintiff has no evidence that Centene ever denied her taking FMLA leave, and she was not

terminated before or during FMLA leave. Cf. Peterson v. Garmin Int’l, 833 F. Supp.2d 1299,

1311 (D. Kan. 2011) (plaintiff showed interference when employer terminated her “the day

before her FMLA leave was to commence, thus interfering with her exercise or attempted

exercise of her FMLA rights”). In this case, plaintiff cannot even establish that she was entitled

to take FMLA leave on July 5, 2016. At her deposition, while she could not remember that

“particular date or circumstances” for taking leave, she does admit that the reason she did offer

for taking that time off – to take her son to the doctor – wasn’t true. See SOF, ¶ 67. Because

plaintiff cannot show that Centene interfered with her right take FMLA leave, her interference

claim should be dismissed as a matter of law.

       2.      Plaintiff’s FMLA claim fails because she would have been terminated
               regardless of her taking FMLA leave.

       The FMLA is “not a strict liability statute.” See Grimes v. Fox & Hound Rest. Group,

984 F. Supp.2d 1125, 1138 (D. Kan. 2013). An employee may be terminated as long as the

employee would have been terminated regardless of the request for leave. See id. The employer

has the burden of demonstrating that “an employee, laid off during FMLA leave, would have

been dismissed regardless of the employee’s request for, or taking of, FMLA leave.” See id.

       In this case, the uncontroverted evidence shows that Centene terminated plaintiff because

it believed that she continued to be dishonest and unprofessional.          The reasons for her

termination were longstanding, with Centene showing remarkable patience rather than




                                                19
         Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 23 of 25




 impulsively acting in response to utilization of FMLA. Countless complaints were made that

 plaintiff was “on her personal cell excessively throughout the day,” that there “are times she

 leaves her desk with[out] informing the IM group,” that plaintiff “is not a team player and . . .

 she has made it an extremely hostile place to work;” and “I am tired of working really hard so

 [plaintiff] can slack off and talk all day.” See SOF, ¶¶ 5-7. Plaintiff lied twice about an

 ill/deceased “aunt” to miss work. See SOF, ¶¶ 16-17, 33, 42. Plaintiff admitted that it was

 reasonable for management to believe that she was lying. See SOF, ¶ 42. She was caught

 continuing to attend to personal phone calls during work hours, even placing a medical provider

 on hold to discuss masturbation, drugs, and alcohol use. See SOF, ¶¶ 32-37. She was dishonest

 about documenting notes in TruCare. See SOF, ¶ 27. She was placed on a Last Chance

 Agreement. Management and plaintiff’s co-workers – and confirmed by her cell phone records

 – all show that plaintiff continued to talk excessively on her cell phone during work hours

 immediately prior to her termination. See SOF, ¶¶ 60, 63. And as stated above, plaintiff admits:

 “There is no telling what I was doing if I wasn’t at my desk.” See SOF, ¶ 64. Because plaintiff

 would have been terminated regardless of her taking FMLA leave, summary judgment should be

 granted. See Sabourin v. Univ. of Utah, 676 F.3d 950, 958 (10th Cir. 2012) (employee properly

 terminated while on FMLA leave for his disloyal and obstructive conduct).

D.      Plaintiff’s ADA and FMLA Retaliation Claims fail.

        ADA and FMLA retaliation claims are analyzed under the McDonnell Douglas

 framework. See Reinhardt v. Albuquerque Public Schs. Bd. of Educ., 595 F.3d 1126, 1131 (10th

 Cir. 2010); Khalik v. United Air Lines, 671 F.3d 1188, 1193 (10th Cir. 2012). To make a prima

 facie case for retaliation, plaintiff must show (1) she engaged in protected opposition to

 discrimination, (2) a reasonable employee would have considered the challenged employment




                                                20
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 24 of 25




action materially adverse, and (3) a causal connection existed between the protected activity and

the materially adverse action. See Reinhardt, 595 F.3d at 1131.

       If plaintiff establishes a prima facie case, the burden shifts to defendant to articulate a

facially nonretaliatory reason for its actions. See id. If defendant articulates a legitimate

nonretaliatory reason, the burden shifts back to plaintiff to present evidence from which a jury

might conclude that defendant’s proffered reason is pretextual, that is, “unworthy of belief.” See

id.

       As discussed above, Centene terminated plaintiff because it believed she was

unprofessional and dishonest. For the same reasons set forth above in sections VI. B.2 and C.2,

she cannot show pretext. Because plaintiff has no evidence demonstrating pretext, summary

judgment should be granted as a matter of law on her retaliations claims under the ADA and

FMLA.

                                    V.      CONCLUSION

       Plaintiff was terminated because of her ongoing dishonesty and unprofessionalism. No

reasonable jury could render a verdict for her. Centene should be granted summary judgment on

each of plaintiff’s claims.




                                               21
        Case 2:17-cv-02172-JAR Document 41 Filed 04/23/18 Page 25 of 25




                                                    Respectfully Submitted,

                                                    ARMSTRONG TEASDALE LLP


                                                    BY:      s/ Dione C. Greene
                                                          Robert A. Kaiser,              MO #31410
                                                          7700 Forsyth Blvd., Suite 1800
                                                          St. Louis, Missouri 63105
                                                          314.621.5070
                                                          314.621.5065 (facsimile)
                                                          rkaiser@armstrongteasdale.com

                                                          Dione C. Greene              KS #23010
                                                          2345 Grand Blvd., Suite 1500
                                                          Kansas City, Missouri 64108
                                                          816.221.3420
                                                          816.221.0786 (facsimile)
                                                          dgreene@armstrongteasdale.com

                                                    ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE

        This is to certify that on April 23, 2018, a true and accurate copy of the above and
foregoing was e-filed with the Court using the CM/ECF system which sent notification to all
parties entitled to service.



                                             s/ Dione C. Greene




                                               22
